     Case 7:23-cv-00133 Document 160 Filed on 01/02/24 in TXSD Page 1 of 3




                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 MCALLEN DIVISION

J.J.P.B., on behalf of himself,              §
and his minor child, A.E.P.F.,               §
                Plaintiff,                   §       Civil Action No. 7:23-cv-133
v.                                           §
                                             §
United States of America,                    §
               Defendants.                   §


                                  NOTICE OF SETTLEMENT

       J.J.P.B., on behalf of himself, and his minor child, A.E.P.F. (“Plaintiffs”), and the United

States of America (“Defendant”), respectfully advise this Court that they have reached a

settlement in principle of all claims. The Parties are currently working to finalize a settlement

agreement. Accordingly, the Parties respectfully request that (1) all court settings and pending

deadlines be stayed, including Plaintiffs’ January 7, 2024 deadline to respond to Defendant’s

motion to dismiss (Dkt. 159); and (2) the Parties be given forty-five (45) to finalize their

settlement agreement.

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     Case 7:23-cv-00133 Document 160 Filed on 01/02/24 in TXSD Page 2 of 3




                                            Respectfully submitted,

                                            By: /s/ Steven C. Herzog w/permission
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                                            2
Case 7:23-cv-00133 Document 160 Filed on 01/02/24 in TXSD Page 3 of 3




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                         CERTIFICATE OF SERVICE

 I certify that on January 2, 2024, this document was filed by CM/ECF.

                                            s/ Christopher D. Pineda
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                                            Assistant United States Attorney




                                        3
